Case 7:17-cv-00450 Document 1-2 Filed in TXSD on 11/20/17 Page 1 of 9




             EXHIBIT A
                                                                                        Electronically Filed
     Case 7:17-cv-00450 Document 1-2 Filed in TXSD on 11/20/17 Page  2 of 9 5:43 PM
                                                                  10/23/2017


I
                                                                                        Hidalgo County District Clerks
                                                                                        Reviewed By: Juan Cavazos




    NOTICE: Pul'$.ulUlt 10 TRCP 126: S1atement of Inability to Afford Payment
    of Court Costs or an Appeal Bond med c NO
                                         C-3468-17-G
                370TH DISTRfCT COURT, HIDALGO COUNTY, TEXAS
                                          CITATION
                                   THE STATE OF TEXAS
    NOTICE TO DEFENDANT: You have been sued. You may employ ao auomey. If
    you or your attorney do not file a written answer with the clerk: who issued this citation
    by I 0:()() a.m. on lhe Monday next following the expira1ion of Lwenty (20) days after you
    were served with this citation and petition. a default judgment may be taken against you.

    MESA UNDERWRITERS SPECIALTY INSURANCE COMPANY
    40 WANTAGE AVENUE
    BRANCHVILLE, NJ 07890

    BY SERVING ITS R£GISTllRED AGENT:

    COMMISSIONER Ot' INSURANCE
    333 GUADALUPE STREET, TOWER ONE, FLOOR 13
    AUSTIN, TEXAS 78701

    You are hereby commanded to appear by filing• written answer to the PLAINTIFF'S
    ORIGINAL PETITION on or before 10:00 o'clock a.m. on the Monday next after the
    expiration of twenty (20) days after the date of service hereof. before the Honorable Noe
    Gonzale-.z, 370th District Court of Hidalgo County, Texas at dte Courthouse at 100
    North Closner. Edinl>mg, Texas 7&539.
    S1lid petition was filed on lhi& che 1st day of August, 2017 and a copy of same accompanies th.is
    citation. The file number and style of said suit being C-3468-17-G. SUK BIN KIM VS. MESA
    UNDERWRITERS INSURANCE COMPANY, QEUBEN QUINTERO

    Said Petition was filed in said court by Attorney ROBERT ANDREW POLLOM, 16500
    SAN PEDRO SUITE 302 $AN ANTONIO TX 78232.

    The nature of the demand is fully shown by a true and co.n-ect copy of the pelition
    accompanying this citation and made a part hereof.

    The officer executing this writ shalJ promptly serve the same according to requirements
    of law, and the mandates thereof, and make due return as the law directs.

    ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
    Texas on this the 10th day of October, 2017.

    LAURA HJNOJOSA, DISTRICT CLERK
    100 N. CLOSNllR, EDINBURG, TEXAS
    HIDALGO COUNTY, TEXAS

     l I. '. •   ' ' ' \ \ \.   ' ' ' \ '   ••
    KIMBERLY Hli<iOJOSA, DEPUTY CLERK
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   Case 7:17-cv-00450 Document 1-2 Filed in TXSD on 11/20/17 Page  3 of 9 5:43 PM
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                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Juan Cavazos



                                       C-3468·17-G
                                 OFFICER'S RETURN

Came to hand on         of _ _ _ _ _ _ , 201 __ at _             o'clock _ _.m. and
executed in _ _ _ _ _ Counly, Texas by delivering to each of the within named
Defeodant in person, a true copy of I.his ciunion, upon which I endorsed the dale or
delivery to said Defendant together wilh the aocompanying copy of the
_ _ _ _ _ _ _ _ _ __ __ (petition) al the fo11owing times and places, to-wit:


INAMB                       I DATE         ITIME IPLACE
And not executed as to the defendant, _ _ __ __ _ _ _ __ _ _ __ _ the
diligence used in finding said defendant, being: _ __ _ _ __ _ _ _ and the
cause of failure to execute this process is: _ _ _ __ __ _ __ and the
infonnation received a~ to the whereabouts of said defendant, being:
_ _ _ _ __ _ __ _• J actually 1md necessarily traveled _ _ _ miles in the
service of this citation. in addition co any other mileage I may have ttaveled in the service
of other process in the same case during the same trip.

Fees: serving ... copy(s) $ _ _ __
      miles ....................$,_ __ _


DEPIJfY
          COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
                      CONSTABLE OR CLERK OF THE COURT
ln accordance to Ruic 107, lhe officer or authorized person who serves or attempts 10
serve a citation must sign the rctum. If the return is signed by a person other than a
sheriff, con.stable or the clerk of the court. the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantjally the following form:

"My11.aine is
              _ _ __ __ __ _ __ _ _ _, my date of bi11h is
_ __ _ _ _ and the address is _ _ __ _ _ __ __ _ __ __ ,and I
declare under penalty of perjury that lhe foregoing is true and correct.
EXEClJfEO in _ __ County, State of Texas. on the _                   day of _ _ _ __
201_ .


Declarnnt"


If Certlfled by the Supreme Court of Texas
Date of Expiration / SCH Number
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        Case 7:17-cv-00450 Document 1-2 Filed in TXSD on 11/20/17 Page  4 of 9 5:43 PM
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                                                                                                              Hidalgo County District Clerks
                                                                                                              Reviewed By: Juan Cavazos



                                                       CAUSE NO. C-3468-17-G

Suk Bin t<lm                                                    §                                             INTHE COURT OF


                              Plaintiff,
                                                                *
                                                                §
vs.                                                             §                                    HIOAlGOCOUNTY, TEXAS
                                                                §
Mesa Unde-rwJl(ers Insurance Comp,ny, Reuben                    §

Qulruero
                             Defendant.                         !                                      370TH DISTRICT COURT

                                           AFFIDAVIT OF SERVICE . CERTIFIED MAIL

On~ day personally aPf)C.i,rcd Raul M. DaVlla who, being byme dulySWOtn. deposed and soid:

·The followlng came to handoo Sep 09. 2017, 03.4S pm.

  PLAINTIFPS OftlGINA.L PETITION, REQUESTS FOR DISCLOSURES, AND FIRST SET OF REQUESTS FOR PRODUCTION,

and was executed on 10/19/2017 by mailing b) Mtta Underwriters Spedaltyln5uran c;e Compan y by Sel'W'lg ltS
R.egl.-:ered Agent Commissioner of Insurance ,1t          3n
                                                   Guactak.lpe Street. Tower One, floor 13, Austin, Texas 78701, by
regular mail anti by Certified Ma-. Return Receipt Requested. Receipt No. 7017 0530 0000 5631 8994, a true copy o f this
, . . 0on.

The regular mall envelOpe was not returned. PS fO(m 3811 was returned on 10/21/2017 having been Signed on
1011912017 and is ,ttachtd hereto.

l ama person over eighteen(18) ytars oJ age and I amcompetenttom.ike this 3ffict,1nt. I am a resident of the State of
Tex.,s, I am famlhar with the Te,cas Ru1es of CNil Proce-dv,e as they apply 10 service o( Process. I om not a party to this
suit nOf relatt-d o, aifrili.,ted with a r,; herein. and haw no interest in the outcome of the suit. I have nevtr been con-.ieted
of a felony Of of 3 mis~anor irrvolving moral turpitude, 1havt personal k~Q&e of the facts stated herein end they
a,e true and correct.·




                                                                    Raul M . 01'11118
                                                                    SCH-11624 hp. 08/31/2018

BEFORE ME. a Notdry Public, on this day pcrsol'l8Hyoppea,ed Raul M. DaWla, k~to me to be the person whose oame
is svbSCtibedtO the foregoing document and, being by me fitSt dt.iy sworn, declared that the SUltefflelti therein
contained are within his ¢t her personal knowledge and are true ancl correct.

SUBSCRIBED At<O SWORN TO ME                ON&ti .?I, lPl'J
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                                                                                                                      Hidalgo County District Clerks

    a COmpleta Items 1, 2, and 3.                            A..,,,....                                               Reviewed By: Juan Cavazos

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INAMB                       I DATE         ITIME IPLACE
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                                                       CAUSE NO. C-3468-17-G

Suk Bin t<lm                                                    §                                             INTHE COURT OF


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                                                                §
vs.                                                             §                                    HIOAlGOCOUNTY, TEXAS
                                                                §
Mesa Unde-rwJl(ers Insurance Comp,ny, Reuben                    §

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                             Defendant.                         !                                      370TH DISTRICT COURT

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                                                   Guactak.lpe Street. Tower One, floor 13, Austin, Texas 78701, by
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of a felony Of of 3 mis~anor irrvolving moral turpitude, 1havt personal k~Q&e of the facts stated herein end they
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                                                                    Raul M . 01'11118
                                                                    SCH-11624 hp. 08/31/2018

BEFORE ME. a Notdry Public, on this day pcrsol'l8Hyoppea,ed Raul M. DaWla, k~to me to be the person whose oame
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contained are within his ¢t her personal knowledge and are true ancl correct.

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    • Print yot.r" name and a0'di.s on fie ITN8l'88          X
       ;o that we can ~tum the card to)'OU.
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